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                          IN THE I.INITED STATES DISTRICT COURT
                            FOR THE DISTzuCT OF CONNECTICUT                               fiFH 6 t*?t iiFiLs}:SE
                                                                                        FILES-!-15il'#-EFT-CT
 IN RE: APPLICATION FOR CRIMINAL                    Case No. 3:22MJS1(0 (SDV)
 COMPLANT
                                                     April6,2022

                                                    Filed Under Seal

                               AFFIDAVIT IN SUPPORT OF AN
                              CATION FOR A CRIMINAL CO

               I, Stephen Ryczer, currently assigned as a Special Agent with the Federal Bureau of

Investigation ("FBI"), being first duly swom, hereby depose and state as follows:

                                         INTRODUCTION

       1.      This affidavit is submitted in support of an application for a criminal complaint and

arrest warrant for Mohamed Najm Kamash, a.k.a. Mohamed Najm Mohamed Ali Kamash

("KAMASH") for violation of 18 U.S.C. $ 1015(a) (false statement in a naturalization proceeding).


       2.      I have been employed by the FBI as a Special Agent since20l2.I am an investigative

or law enforcement officer of the United States within the meaning of Title 18, United States Code,

Section 2510(7), in that I am empowered by law to conduct investigations of and to make arrests for

offenses enumerated in Title 18, United States Code, Section 2516.I have been assigned to the New

Haven FBI Field Office since February 2022. Prior to this assignment, I was a Special Agent at the

FBI's New York Field Office where I was assigned to the Joint Terrorism Task Force("JTTF")

where I have participated in the investigation of cases pertaining to fraud, international terrorism

and other federal offenses.


       3.      I have participated in investigations involving individuals suspected of fraud and
other crimes, and written, obtained andlor coordinated the execution of search and arrest warrants

pertaining to individuals involved in federal offenses. I have prepared or assisted in the preparation

of affidavits in support of applications for search warrants which have resulted in orders being issued
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by federal courts. I have received training in a variety of areas relevant to my position as a Special

Agent while at the FBI Academy in Quantico, Virginia.

        4.          The information contained in this affidavit is based on my review of records and other

information collected in the investigation described herein and information received from other law

enforcement officers. I am familiar with the circumstances of the investigation and the information

set forth in this affidavit. The statements contained in this affidavit are based on: (1) my review of

records and information collected in the investigation; (2) information provided to me by FBI Special

Agents and Task Force Officers; (3) information provided to FBI Special Agents by the United

States Citizenship and Immigration Services; and (4) my experience and training. This affidavit is

intended to show merely that there is sufficient probable cause for the issuance of the criminal

complaint and arrest warrant and does not set forth all my knowledge about this matter.

        5.          In this affidavit, the FBI has provided translations of certain Arabic words or phrases.

These translations are based on information provided by certified FBI linguists.

                                           STATUTORY AUTHORITY

        6.          Title 18, United States Code, Section 1015(a) prohibits, in pertinent part, a person

from knowingly making any false statement under oath, in any case, proceeding, or matter relating

to, or under, or by virtue of any law of the United States relating to naturalization, citizenship, or

registry of aliens.

                                              BACKGROUND

        7   .       According to information provided by the United States Citizenship and Immigration

Services ("USCIS") to the FBI New Haven Field Office, KAMASH was born in Nineveh

Governorate, Iraq in 199I, and is approximately 31 years old. KAMASH was initially admitted to

the United States in July 2014. KAMASH resides in the District of Connecticut and has so since his

admission to the United States in20I4.



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        8.      ln20l6, KAMASH obtained lawful permanent resident ("LPR") status, commonly

referred to as a "Green Catd," which he maintains to date. On or about August 1I,2015, in the

District of Connecticut, KAMASH signed a USCIS Form I-485, Application to Register Permanent

Residence or Adjust Status. Form I-485 includes Part 5, the "Applicant's Statement." The

Applicant' s Statement, in part, reads :


        I certify, under penalty of perjury under the laws of the United States of America,
        that the information provided with this application is all true and correct. I certify
        also that I have not withheld any information that would affect the outcome of this
        application.
In the Applicant's signature box is a signature purporting to be that of KAMASH, dated August

ll,2015. According to the form, KAMASH used another individual, a preparer, to assist with
completing the form. However, as part of the Applicant's Statement, he checked a box next to

where the form read, "I can read and understand English, and I have read and understand each and

every question and instruction on this form, as well as my answer to each question."

                                           PROBABLE CAUSE

       Form N-400

        9.      On or about April22,2019, in the District of Corurecticut, KAMASH signed a

USCIS Form N-400, Application for Naturalization. On or about April 29, 2019, KAMASH

submitted the form or caused it to be submitted to USCIS for adjudication via the mail, using the

United States Postal Service.

        10.     Form N-400, Part 13 incudes the "Applicant's Statement, Certification, and

Signature." The Applicant's Certification, in part, reads:


        I understand that USCIS will require me to appear for an appointment to take my
        biometrics (fingerprints, photograph, andlor signature) and, at that time, I will be
        required to sign an oath reaffirming that: (1) I reviewed and provided or authorized
        all of the information in my application; (2) I understood all of the information
        contained in, and submitted with, my application; and (3) all of this information was
        complete, true, and correct at the time of filing.

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         I certifu, under penalty of perjury, that I provided or authorized all of the
         information in my application, I understand all of the information contained in, and
         submitted with, my application, and that all of this information is complete, true,
         and correct.

In the Applicant's Signature box is a signature purporting to be that of KAMASH, dated Apri|22,

20t9.

         11.      In Part 12 of Form N-400 is a section named "Additional Information About You

(Person Applying for Naturalization)." Question 10(C) of Part 12 asks, "Have you EVER been a

member of, or in any way associated (either directly or indirectly) with: A terrorist organization?"

The question allows the applicant to check boxes labeled either "Yes" or "No". On KAMASH's

application, next to Question 10(C) of Part 12,the "No" box was checked.

         12.      Based upon information known to me from my review of records and other

information collected in this investigation and through my conversations with other law

enforcement officers, I believe that KAMASH made material misrepresentations on the Form N-

400, specifically related to family members with whom KAMASH is (or was) associated, who are

believed to be (or have been) members of a terror organization, the Islamic State of Iraq and al-

Sham (ISIS)1. In sum, I believe KAMASH is associated with a terror otganization through his

family members, specifically through his brothers Ahmed Najm Mohammed Ali Kamash

("AHMED") and Ali Najm Mohammed Ali Kamash ("ALI"), and that that KAMASH, while under

oath, denied to USCIS that he was associated with a terror organization in the Form N-400 and

during a subsequent oral interview with USCIS.



I In October 2004, the United States Secretary of State designated al-Qa' ida in Iraq ("AQI"), then known as Jam' at al
Tawhid wa'al-Jihad, as a Foreign Terrorist Organization ("FTO") under Section 219 of the Immigration and Nationality
Act ("INA") and as a Specifically Designated Global Terrorist entity under section 1(b) of Executive Order 13224. On
or about May 15, 2014,the Secretary of State amended the designation of AQI as an FTO under Section 219 of the INA
and as a Specially Designated Global Terrorist entity under section 1(b) of Executive Order 13224 to add the alias
Islamic State of Iraq and the Levant ("ISIL") as its primary name. The Secretary of State also added the following aliases
to the FTO listing: the Islamic State of Iraq and al-Sham ("ISIS"), the Islamic State of Iraq and Syria, ad-Dawla al-
Islamiyya fi al-'Iraq wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqan Establishment for Media Production. On
September 21, 2015, the Secretary of State added the following aliases to the FTO listing: Islamic State, ISIL and ISIS.
To date, ISIS remains a designated FTO.
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          Application Interview


          13.    On August 17,2021, KAMASH appeared in Hartford, Connecticut for a USCIS

interview about his pending naturalization application.


          14. At the begirrning of interview, before any interview questions were asked,
KAMASH was placed under oath and swore to the USCIS Immigration Services Offrcer that he

would tell the truth, the whole truth and nothing but the truth. At the conclusion of the interview,

KAMASH signed an attestation which, in part, read:


          I swear (affirm) and certify under penalty of perjury under the laws of the United States of
          America that I know that the contents of this Form N-400, Application for Naturalization,
          subscribed by me, including the corrections displayed above, are complete, true, and
          correct. The evidence submitted by me on numbered pages 1 through 0 [sic], are complete,
          true, and correct.

          15.    During the interview, in substance, KAMASH told USCIS that he has never known

anyone involved with a terrorist organization, that no member of his family was involved with a

terrorist organization, and that neither he nor his family were ever involved with any insurgency

groups.


          16.    KAMASH also provided USCIS information regarding his family members.

KAMASH identified AHMED and ALI as his brothers. KAMASH claimed that his brother

AHMED was killed in Iraq by a bomb while playing soccer in2015 or 2016. KAMASH claimed

that he was not in contact with his brother ALI but said that ALI resides with his father in Iraq.

KAMASH omitted any mention that AHMED and ALI were affiliated with the ISIS terror group.


          17. At the conclusion of the interview KAMASH, as described above, certified the
contents of the Form N-400 under the penalty of perjury. KAMASH made no correction to Question

10(C) of Part 12 - which inquired whether he was ever in any way associated (either directly or



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indirectly) with a terrorist organization - to which he had answered "No" in the Form N-400 on

Aprrl22,2019.


       Facebook Search Warrant

       18.      Through a review of publicly available information and review of records obtained

through legal process, investigators identified two Facebook social media accounts attributed to

KAMASH: "KAMASH FB ACCOLINT-I" and "KAMASH FB ACCOUNT-2;' OnMay 3, 2021,

United States Magistrate Judge Robert M. Spector authorized an order pursuant to 18 U.S.C. $

2703(d) to obtain records and information (but not the content of communications) from Facebook

for KAMASH FB ACCOUNT-I and KAMASH FB ACCOLTNT-2. Facebook provided records and

information including the dates, times, and other information related to communications stored to

the KAMASH Facebook accounts (but not the content of any communications).

       19.      Separately, on March 2, 2022, United States Magistrate Judge S. Dave Vatti

authorized an order pursuant to 18 U.S.C. $ 2703(d) to obtain records and information (but not the

content of communications) from Facebook for accounts linked to telephone numbers and email

addresses used by KAMASH. Facebook provided additional records and information including the

dates, times, and other information related to communications stored to KAMASH FB ACCOUNT-

1 (but not the content of any communications).

        20. Through a review of publicly available information and review of records obtained
through legal process, investigators identified three Facebook social media accounts attributed to

AHMED and ALI: "AHMED FB ACCOLINT-I," "ALI FB ACCOUNT-I" and "ALI FB

ACCOLINT-2." On or about December 22,2021, United States Magistrate Judge S. Dave Vatti

authorized awarrarrt. to seize information held by Facebook and to search records and information

(including the content of communications) for AHMED FB ACCOLTNT-I, ALI FB ACCOUNT-I

and ALI FB ACCOUNT-2. FBI investigators then reviewed and translated (as the users of the


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accounts communicated largely in Arabic) the content of communications for AHMED FB

ACCOLINT-I, ALI FB ACCOLINT-I and ALI FB ACCOLINT-2, which revealed communications

related to the ISIS terror organization.

       2I.     FBI investigators also conducted a review of information publicly posted to

KAMASH FB ACCOLINT-I. On or about April 19, 2016, the profile picture was updated to a

photograph that I believe depicts his brother, AHMED. Other Facebook users had posted comments

to KAMASH FB ACCOUNT-I beginning on or about April 19, 2016, regarding the death of

AHMED. I believe that the timing of the change in the profile picture corresponds with AHMED's

death in Iraq. Based upon records and information obtained as part of this investigation, as well as

the content of communications from the AHMED Facebook accounts, I believe that AHMED was

killed in2016 while fighting as an ISIS militant in (or near) then ISlS-occupied Ramadi, Iraq.

       Messagesfrom AHMED to KAMASH

       22.     In messages dated on or about September 2,20|4,AHMED FB ACCOUNT-I wrote

to KAMASH FB ACCOUNT-2thatAHMED had joined the ISIS terorist group and that they had

given him a gun.

       23. FBI investigators have not yet received records related to KAMASH FB
ACCOUNT-2 for a period of January 1 , 2014 to December 3 1 , 2014 to determine the extent of use

of the account in fall of 2014. The May 2021 5 2703(d) order was for records for a period of

"January 1,2015 to present". A March 2022 S 2703(d) requested additional records for a period

"from January 1,2014 to present" for Facebook accounts associated with KAMASH. However,

Facebook (now doing business as Meta Platforms Inc.) did not return records responsive to

KAMASH FB ACCOI-INT-2 for that period because the Facebook user ID for the account was not

listed in the order, though the order requested records and information for all accounts associated

with a telephone number which I know to be associated with KAMASH FB ACCOUNT-2. FBI


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investigators expect to apply for an additional order pursuant to $ 2703(d) to receive any records

for KAMASH FB ACCOLTNT-2,to include the relevant period in2014.

        Messages between AHMED and ALI

        24.     In a message dated on or about September 2,2014, AHMED FB ACCOUNT-I sent

an image of a pistol, magazine, and bullets to ALI FB ACCOUNT-I. In messages between the two

accounts on or about the following day, AHMED, in substance, told ALI that he joined the ISIS

tenorist organization, and they gave him a pistol.

        25.     In messages dated on or about March 25,2016, AHMED told ALI he had been in

Ramadi, Iraq, for the previous five days and that he may stay longer. Parts of Ramadi, a city

approximately 70 miles west of Baghdad, Iraq, were seized by ISIS beginning in or about late

December 2013, with the full city falling under ISIS control by May 2015. Though Iraqi forces

retook control of central Ramadi in December 2015, roughly 30% of the city remained under ISIS

control. News reports as of March 2016 indicated ISIS militants were still mounting frequent

guerrilla warfare-style attacks around Ramadi, the persistent presence of whom warranted almost

daily air strikes on the area.

        Messages between KAMASH and ALI

        26. In messages dated on or about May 1, 2016, ALI FB ACCOLINT-I wrote to
KAMASH FB ACCOI-INT-1 that ALI was taking the same path that AHMED took. (As stated

above, AHMED was deceased by on or about April 19, 2016.) ALI asked KAMASH not to get

upset with him. KAMASH replied that he did not mind and asked if their parents were ok with ALI

leaving. ALI wrote that their father said yes and their mother told him to go but to stay close and

in the area. KAMASH replied for ALI to stay close. ALI said there was nothing close at the

moment, then added that once he attends a camp, he does not know where they will send him. I

believe that in the context of this and other conversations, ALI was referring to an ISIS training

camp and that he intended to fight, as AHMED had, on behalf of the ISIS temor organization.
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       Group Thread Messoges

       27.     On or about January 29,2017, a Facebook account ("GROUP THREAD i FB

ACCOI-INT"), which I believe to have been used by a sibling of KAMASH, sent a message to a

group of Facebook users, or "group thread" ("GROUP THREAD 1"). A group thread, or "group

chat", is a group messaging service where messages can be shared amongst a group of Facebook

users. Messages may include visual content, such as pictures and video. At the time, January 2017,

this group consisted of six other accounts, including KAMASH (using KAMASH FB ACCOUNT-

1 and KAMASH FB ACCOLTNT-2), ALI (using ALI FB ACCOUNT-I and ALI FB ACCOLINT-


2) and other accounts I believe to have been used by siblings of KAMASH. I also believe that

because AHMED died in April2016, the group thread was used, in part, to share photographs of

then-deceased AHMED, amongst other family photographs. The January 29,2017, message sent

by the GROUP THREAD FB 1 ACCOLINT to GROUP THREAD 1 contained a photograph

depicting AHMED (who appeared to also be the cameraman) and three other young men, one of

whom was wearing a black headband on which were displayed the symbols of the flag used by the

ISIS terrorist organization. KAMASH, using KAMASH FB ACCOUNT-2, responded to the group

thread on the same day (January 29,2017) with a video of himself.

       28.     In a message dated on or about January 26, 2018, the GROUP THREAD 1 FB

ACCOUNT sent a message to the members of that same group thread, GROUP THREAD 1, which

by then consisted of 12 other accounts including KAMASH (using KAMASH FB ACCOLTNT-I

and KAMASH FB ACCOLiNT-2), ALI (using ALI FB ACCOTINT-I and ALI FB ACCOLINT-2)

and other accounts I believe to have been used by siblings of KAMASH. The message contained a

videorecording (or video collage), which began with the title "My Video" and depicted a collage

of multiple still photographs of AHMED: posing with or next to assault rifles, firing assault rifles,

and posing with heavy machine guns. One image depicted AHMED overlaid with an image of a



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lion2. At the end of the video, the flag used by the ISIS terrorist group was displayed. I believe this

was a collection of tribute-type photographs of then-deceased AHMED training as a fighter for the

ISIS terrorist group. KAMASH, using KAMASH FB ACCOUNT-2, posted amessage to this group

thread on or about the following day (January 27,2018).

         29.      Because KAMASH was active in the group threads, posting to the group threads

near in time to the posting of ISlS-related photographs depicting his brother AHMED, I believe it

probable that KAMASH observed the ISlS-related photographs. Moreover, in 2014, AHMED

directly messaged KAMASH and wrote that he had joined ISIS.

        KAMASH Deletion of Facebook Communications

         30.     As described above, FBI investigators received records and information (but not the

content of communications) from Facebook for KAMASH FB ACCOLINT-I and KAMASH FB

ACCOUNT-2, which included the dates and times of messages sent and received by the KAMASH

Facebook accounts. FBI investigators also received records and information (including the content

of communications) related to messages sent and received by the AHMED and ALI Facebook

accounts. Because a Facebook user can control account settings and delete or retain messages

(either those sent by the account or received by the account) to the account storage, FBI

investigators compared the records of the KAMASH Facebook accounts to the records of the

AHMED and ALI Facebook accounts.

         31.     Based upon a review of the Facebook records, FBI investigators determined that

many communications sent by the AHMED or ALI accounts to the KAMASH accounts, or sent by

the KAMASH accounts and received by the AHMED or ALI accounts, exist only in the records



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 I believe based on my training, experience, and my review of publicly available information, that certain imagery has
been adopted byjihadist propaganda and is then used byjihadists to express their association with or support of
extremist or terrorist groups, including ISIS and al-Qaeda. For example, in Islamic art and culture, the lion evokes
qualities of bravery and strength. Lion imagery has become a common motif in jihadist propaganda where it can be
seen as a symbol of honor for jihadi leaders and for low-ranking militants. The lion may also be used to suggest
marbyrdom or designate a marfyr-to-be.
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for the AHMED or ALI accounts but not in the records for the KAMASH accounts. Based upon

review of the Facebook records, I believe that KAMASH deleted a significant number of

communications (though not all communications) sent or received using KAMASH FB

ACCOTINT-I and KAMASH FB ACCOTINT-2 that contained evidence of his knowledge of an

association between his family members, AHMED and ALI, and the ISIS tenor organization.

       32.    For example, as described above, based upon records received from ALI FB

ACCOTINT-I and ALI FB ACCOI-INT-2, KAMASH FB ACCOUNT-I and KAMASH FB

ACCOLTNT-2 were included on GROUP THREAD 1 in January 2017 and January 2018. On

January 29,2017, GROUP THREAD 1 FB ACCOUNT sent the ISlS-related photograph of

AHMED to GROUP THREAD 1, including KAMASH, and KAMASH replied to the group thread

the same day. On January 26,2018, GROUP THREAD 1 FB ACCOUNT sent the ISlS-related

video of AHMED to GROUP THREAD 1, including I(AMASH, and KAMASH replied to the

group thread on or about the following day. While the communications are contained within the

Facebook records received for ALI FB ACCOTINT-I and ALI FB ACCOUNT-2, they are not

contained in the records for KAMASH FB ACCOI-INT-2.

       33.    Records received for KAMASH FB ACCOTINT-2 did not reveal any stored data

related to GROUP THREAD 1 dated prior to January 1I,2021. However, there remains stored

data related to another group thread on which KAMASH FB ACCOTINT-2 was included dating

back to January 20, 2018, as well as numerous other communications with other accounts dating

back to 2015. Because there exists stored data in the records and information for KAMASH FB

ACCOUNT-2 prior to the ISlS-related messages sent using GROUP THREAD 1, and because the

above-described communications are stored within in the records received for the ALI Facebook

accounts, I believe that KAMASH viewed the ISlS-related content sent to him as paft of GROUP

THREAD 1 and that KAMASH then deleted the data from his account after it was viewed.

However, based upon records received for KAMASH FB ACCOTINT-I, there remains stored data
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for GROUP THREAD 1 from January 14,2017 through April20,202l, including the dates on

which the ISlS-related photographs were sent.

       34. I further believe that KAMASH deleted direct (or peer-to-peer) messages sent to
him, using KAMASH FB ACCOI-INT- 1, from AHMED, using AHMED FB ACCOLTNT- 1. Based

upon records and information (including the content of communications) for AHMED FB

ACCOLINT-I, in messages dated on or about February 7,2016, AHMED FB ACCOUNT-I sent

pictures and text to KAMASH FB ACCOUNT-1. One of the images depicted a small child sitting

next to two assault rifles. Another image depicted AHMED wearing a camouflage shirt and green

knit cap. On or about September l, 2015, AHMED FB ACCOUNT-I sent KAMASH FB

ACCOUNT-1 an image of a large table of rifles, pistols, magazines, ammunition and knives. On

or about July 25,2015, AHMED FB ACCOUNT-1 sent KAMASH FB ACCOUNT-I an image of

a laptop computer with two pistols lying on it. However, records received from Facebook for

KAMASH FB ACCOUNT-1 did not reveal stored data related to communications with AHMED

FB ACCOLINT-I prior to June 19, 2016. (The records provided by Facebook for KAMASH FB

ACCOUNT-I covered the period beginning January l, 2014 through April 1, 2022, though I

believe that AHMED died in or about April 2016). KAMASH FB ACCOUNT-I has no stored

communications from its creation date until May 1, 2016, other than three communications in20l4.

       35.    Based upon my review of the records and information provided by Facebook,

including still-existent communications in data stored to the AHMED and ALI Facebook accounts,

I believe it probable that KAMASH deleted communications from his accounts related to his
association through his brothers, AHMED and ALI, with the ISIS tenor organization.

       Summary

       36.    I submit that there is probable cause to believe and I do believe that: (1) KAMASH

had knowledge of his brother AHMED's association with the ISIS tenor organization as early as

September 2,2014; (2) KAMASH had knowledge of his brother ALI's association with the ISIS
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terror organization as early as May 1,2016; (3) on April22,2019, KAMASH made materially

false statements on the Form N-400 (application for naturalization) when he checked "No" in

response to a question which asked, in part, if he had ever been in any way associated (either

directly or indirectly) with a terrorist organization; and (4) on August 17 ,202I, during his interview

in support of naturalization, KAMASH made a false oath or declaration under penalty of perjury

when he (verbally) told USCIS he has never known anyone involved with a terrorist organization,

that no member of his family was involved with a terrorist organization, and that neither he nor his

family were evel involved with any insurgency groups, and when KAMASH attested (in writing)

to the contents of Form N-400.

       37.     Based upon information received by USCIS, KAMASH's false or misleading

statements were material to the proper adjudication of the Form N-400 because current and

previous membership in, or association with, a terorist organrzation may indicate a lack of

attachment to the Constitution and an indication that the applicant is not well disposed to the good

order and happiness of the United States. See USCIS Policy Manual, Volume 12 - Citizenship and

Naturalization, Part D - General Naturalization Requirements, Chapter 7 - Attachment to the

Constitution, https://www.uscis.gov/policy-manual/volume-12-part-d-chapter-7          (Current as of

March 23,2022).Information concerning an applicant's membership in, or association with, a

terrorist organization implicates national security issues. Such information is important in

determining the applicant's eligibility in terms of good moral character and attachment

requirements. Membership and association with a terror organization may also raise issues of

lawful admission, or even render the applicant removable. The burden rests on the applicant to

prove that he or she has an attachment to the Constitution of the United States and that he or she is

well disposed to the good order and happiness of the United States, among the other naturalization

requirements. See id.



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                                        CONCLUSION

       38.     There is probable cause to believe, and I do believe that on or about April22,2019

and August17,202I, inthe District of Connecticut, MohamedNajm Kamash, a.k.a. MohamedNajm

Mohamed Ali Kamash ("KAMASH") violated 18 U.S.C. $ 1015(a) (false statement in a

naturalization proceeding). Therefore, I respectfully request the issuance of the requested criminal

complaint and arrest warrant.



                                                  Respectfully submitted,


                                                    u#a"
                                                  Steph6n nyc46i
                                                  Special Agent
                                                  Federal Bureau of Investigation




The truth of the foregoing affidavit has been attested to before me by FBI Special Agent Stephen
Ryczer on this 6th day of April, 2022, at Bridgeport, Connecticut



              5D4
       HONORABLE S. DAVE VATTI
       UNITED STATES MAGISTRATE ruDGE




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